08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                        Volume III (Part 3) Pg 1 of 29




                          A. 51
           08-13555-mg                  Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38                        Appendix
                                                  Volume III (Part 3) Pg 2 of 29

     Unknown

     Sent: Wednesday, March 25, 2009 10:21 AM


 From:                    Reilly, Gerard [greiIly@lehman.com]
 Sent:                    Wednesday,           September   17,20089:28   PM (GMT)
 To:                      Kelly, Martin [mattin.kelly@lehman.com];          Flores, Daniel [Daniel.Flores@lehman.com]
 Cc:                      Taylor, Austin L [austin.taylor@lehman.com]
 Subject:                 RE: Diligence Items


The first question is very difficult. My understanding of the deal is
that they will purchase our assets that remain in LBI on the closing
date which will not be the same as the assets on the 12th. That
purchase will be at a fixed discount on the assets that remain to
reflect the bulk size of the purchase. We can track our pI by assets
category which give some indication of how much we have moved the marks.
We can also provide assets as of the 16th with m arks so they can get
some perspecti ve.

LeI me know what we need. If I am off base and the expectation is to
track sales, cash, marks of the portfolio from the 12th to the close
that will be extremely difficult,

Gerry

> ------::-::--,,:---:---:----:-------------
> From:    Kelly, Martin
> Sent: Wednesday, September 17,20084:52 PM
> '1'0: Flores, Daniel
> Ce: Taylor, Austin L; Reilly, Gerard
> Subject:        RE: Diligence Items
>
> #1 is Gerry (cc'd), #2 is me _we are working on that now
>
> =-----=,..--=---:--:------------
> From:           Flores, Daniel
> Sent: Wednesday, September 17, 2008 3:47 PM
> To: Kelly, Martin
> Cc: Taylor, Austin L
> Subject:     Diligence Items
>
>Hi Martin,
>
> Just left you a vmail, Wanted to follow up on some of the items
> Lazard has requested that George Mack and I discussed with you
;>   yesterday. These are:
>
> 1. Price variance report for trading books going with deal to reflect
> changes between Friday 9/12 close and Monday 9/15 close
> 2. The balance sheet of what's being sold as well us whut is remaining
> behind
>
> If you aren't the right person, please let me know who else I should
> contact.
                                                                                                           -
>                                                                                                                   EXHIBIT        ••••
> Regards,
> Daniel
>
                                                                                                       I    - J't~4
                                                                                                                  llf: Q?,        '.-
                                                                                                                                  -
                                                                                                           7:5.
> ------- ---------------- -----------------                                                                                   £\vS

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r       08-13555-mg            Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                                         Volume III (Part 3) Pg 3 of 29
> Daniel E. Flores
> Lehman Brothers
> Restructuring Group
> (212) 526 8253 (Tel)
> (212) 520 9312 (Fa....:)
> daniel.floresrgllehman.com
>
>




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                                                                                          464049
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                        Volume III (Part 3) Pg 4 of 29




                          A. 52
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                        Volume III (Part 3) Pg 5 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                        Volume III (Part 3) Pg 6 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                        Volume III (Part 3) Pg 7 of 29




                          A. 53
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                        Volume III (Part 3) Pg 8 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                        Volume III (Part 3) Pg 9 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 10 of 29




                          A. 54
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 11 of 29




         Filed Under Seal
          Pursuant To
        Protective Order
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 12 of 29




                          A. 55
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 13 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 14 of 29




                          A. 56
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 15 of 29




         Filed Under Seal
          Pursuant To
        Protective Order
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 16 of 29




                          A. 57
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 17 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 18 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 19 of 29




                          A. 58
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 20 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 21 of 29




                          A. 59
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 22 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 23 of 29




                          A. 60
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 24 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 25 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 26 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 27 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 28 of 29
08-13555-mg   Doc 5151-3 Filed 09/15/09 Entered 09/15/09 10:32:38   Appendix
                       Volume III (Part 3) Pg 29 of 29
